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 AO 472 (Rev. 09/08) Detention Order Pending Trial


                                       UNITED STATES DISTRICT COURT
                                                                       for the
                                                                  District of New Mexico
                   United States of America                               )
                              v.                                          )
                                                                          )       Case No.       14-341 MJ
                  JORGE JOSE CARDOZA                                      )
                             Defendant                                    )


                                                DETENTION ORDER PENDING TRIAL

         After conducting a detention hearing under the Bail Reform Act, 18 U.S.C. § 3142(f), I conclude that these facts
require that the defendant be detained pending trial.
                                                             Part I—Findings of Fact
     (1) The defendant is charged with an offense described in 18 U.S.C. § 3142(f)(1) and has previously been convicted
            of      a federal offense                a state or local offense that would have been a federal offense if federal
              jurisdiction had existed - that is
                   a crime of violence as defined in 18 U.S.C. § 3156(a)(4)or an offense listed in 18 U.S.C. § 2332b(g)(5)
                   for which the prison term is 10 years or more.
                   an offense for which the maximum sentence is death or life imprisonment.
                   an offense for which a maximum prison term of ten years or more is prescribed in
                                                                                                                              .*
                   a felony committed after the defendant had been convicted of two or more prior federal offenses
                   described in 18 U.S.C. § 3142(f)(1)(A)-(C), or comparable state or local offenses:
                   any felony that is not a crime of violence but involves:
                        a minor victim
                        the possession or use of a firearm or destructive device or any other dangerous weapon
                        a failure to register under 18 U.S.C. § 2250
     (2)     The offense described in finding (1) was committed while the defendant was on release pending trial for a
             federal, state release or local offense.
     (3)     A period of less than five years has elapsed since the                    date of conviction             the defendant’s release
             from prison for the offense described in finding (1).
     (4)     Findings Nos. (1), (2) and (3) establish a rebuttable presumption that no condition will reasonably assure the
             safety of another person or the community. I further find that the defendant has not rebutted this presumption.
                                                             Alternative Findings (A)
     (1)      There is probable cause to believe that the defendant has committed an offense
                   for which a maximum prison term of ten years or more is prescribed in                                                .
                   under 18 U.S.C. § 924(c).

*Insert as applicable: (a) Controlled Substances Act (21 U.S.C. § 801 et seq.); (b) Controlled Substances Import and Export Act (21 U.S.C. § 951 et
seq.); or (c) Section 1 of Act of Sept. 15, 1980 (21 U.S.C. § 955a).
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AO 472 (Rev. 09/08) Detention Order Pending Trial



                                      UNITED STATES DISTRICT COURT
                                                                      for the
                                                                    District of
     (2)     The defendant has not rebutted the presumption established by finding 1 that no condition will reasonably
             assure the defendant’s appearance and the safety of the community.

                                                          Alternative Findings (B)
     (1)      There is a serious risk that the defendant will not appear.
     (2)      There is a serious risk that the defendant will endanger the safety of another person or the community.




                                           Part II— Statement of the Reasons for Detention
           I find that the testimony and information submitted at the detention hearing establishes by                           clear and
convincing evidence                a preponderance of the evidence that




                                                Part III—Directions Regarding Detention
         The defendant is committed to the custody of the Attorney General or a designated representative for
confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or
held in custody pending appeal. The defendant must be afforded a reasonable opportunity to consult privately with
defense counsel. On order of United States Court or on request of an attorney for the Government, the person in charge
of the corrections facility must deliver the defendant to the United States marshal for a court appearance.


Date:                  2/7/2014                                                                       /s/
                                                                                               Judge’s Signature

                                                                            CARMEN E. GARZA, U.S. Magistrate Judge
                                                                                                Name and Title




*Insert as applicable: (a) Controlled Substances Act (21 U.S.C. § 801 et seq.); (b) Controlled Substances Import and Export Act (21 U.S.C. § 951 et
seq.); or (c) Section 1 of Act of Sept. 15, 1980 (21 U.S.C. § 955a).
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